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                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

APPLE INC.,                                      )
                                                 )
                        Plaintiff,               )
                                                 )
       v.                                        )     C.A. No. No. 2:21-cv-00460-JRG
                                                 )
TELEFONAKTIEBOLAGET LM                           )     Jury Trial Demanded
ERICSSON and ERICSSON INC.,                      )
                                                 )
                        Defendants.              )
                                                 )

    APPLE INC.’S REQUEST FOR EARLY CASE MANAGEMENT CONFERENCE

       Apple respectfully requests that the Court conduct an immediate case management

conference to discuss a schedule and procedure for the issues posed by this case and the flood of

litigation that Ericsson filed since Monday to undermine this Court’s jurisdiction. Apple is

respectful of the Court’s typical practice in setting scheduling conferences. However, Ericsson

has chosen to evade the jurisdiction of this Court by pursuing collateral litigation in the Western

District of Texas, at the U.S. International Trade Commission, and in at least four countries abroad.

In each case, Ericsson is pursuing injunctive relief that will turn this Court’s judgment into a

nullity. In fact, Ericsson has sought preliminary injunctive relief on an ex parte basis in Brazil on

three FRAND-encumbered declared standard essential patents. Apple thus requests immediate

action by this Court to discuss the scope of this case and how it can be litigated effectively and

without interference.

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       Apple filed its complaint against Telefonaktiebolaget LM Ericsson and Ericsson Inc.

(collectively, “Ericsson”) on December 17, 2021. Among other relief, Apple seeks a determination

of fair, reasonable, and non-discriminatory (“FRAND”) terms for a global license to Ericsson’s
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claimed standard-essential cellular patents (“SEPs”), including by reference to the parties’ license

that expired just days ago. Apple noted that it is also willing to have the Court set FRAND terms

for Ericsson to license Apple’s SEPs—that is, Apple is willing to structure this case to reach a

determination of the terms of a cross-license to the parties’ respective SEPs. ECF 2 at ¶ 43. Put

another way, Apple believes the parties’ overall dispute about renewing the just-expired agreement

should be decided in this case before this Court, rather than in the Waco, ITC, and overseas cases

filed by Ericsson.

        In the last few weeks, Ericsson sought Apple’s confirmation that Apple was committing to

have this Court set the terms of a binding cross license between the parties as part of this action.

On January 11, Apple provided that confirmation and, given the apparent agreement between the

parties that this Court would adjudicate such a cross license, Apple stated its understanding that

the parties would not assert infringement claims against the other outside this Court while this case

was pending. Apple believed that Ericsson agreed and understood that forbearing collateral

litigation was a key foundation so that these proceedings would not be undermined by the coercive

threat of an injunction elsewhere.

        Ericsson changed course on Monday. Apple is aware of patent actions seeking injunctive

relief in at least six different venues that Ericsson has filed in the last two days:

        •   W.D. Tex. (Waco): Even though Ericsson filed a complaint against Apple in this Court

            in October 2021 (2:21-cv-376) seeking a declaration that it has complied with its

            FRAND obligations and moved on Monday to amend that complaint to allege that

            Apple has breached its FRAND obligations, Ericsson filed three patent infringement

            actions before Judge Albright in the Western District of Texas. These are the first cases

            that Ericsson has ever filed in that district, which is unsurprising given that Ericsson’s



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         U.S. headquarters is in the Eastern District of Texas. Notably, in each case Ericsson

         seeks to enjoin Apple. Ericsson’s apparent aim in simultaneously pursuing relief in the

         Western District of Texas—including on SEPs—and in this Court is to avoid allowing

         this Court to completely resolve the parties’ licensing dispute and to shield its non-

         FRAND injunction demands from this Court’s scrutiny. Simply put, Ericsson is

         flouting the authority of this Court. Ericsson now seeks to do exactly what Apple had

         understood the parties agreed not to do—undermine this Court’s authority to resolve

         this dispute by launching a wave of injunction actions. Ericsson intends to coerce

         Apple to accept a non-FRAND settlement before this Court has the opportunity to set

         FRAND terms for a renewed cross-license.

     •   ITC: Ericsson filed three cases in the U.S. International Trade Commission that overlap

         with its Waco cases, one of which asserts four cellular SEPs and the other two of which

         assert patents that are not claimed to be essential (“NEPs”). There, Ericsson claims

         that seeking to exclude Apple’s products from the United States was necessary after

         “exhausting all other options to conclude a license with Apple on fair, reasonable, and

         non-discriminatory (‘FRAND’) terms”—that clearly is not right because Ericsson well

         knows that this Court can determine FRAND terms and Apple has agreed to accept

         them.

     •   Foreign actions: Ericsson sought an ex parte preliminary injunction against Apple in

         Brazil on three SEPs. In the Netherlands, Ericsson has asserted four SEPs and informed

         Apple’s counsel that Ericsson intends to seek preliminary injunctions against Apple.

         In Germany, Ericsson has filed multiple actions involving both SEPs and NEPs in

         Mannheim and likely other courts. In Belgium, Ericsson asserted three SEPs and one


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           NEP with the apparent aim of enjoining Apple. These are the foreign cases of which

           Apple is presently aware.

       Apple will now need to respond to these litigations by filing its own patent infringement

claims against Ericsson. But to be clear: Apple does not think it is appropriate for the parties to

be embroiled in collateral patent actions against each other—given the pendency of the instant

action to set binding FRAND terms in this Court—and if Ericsson withdraws the offensive patent

complaints that it just filed, Apple will withdraw any new patent actions against Ericsson. The

parties’ dispute should be decided right here—in this Court, and in this case.

                                              *****

       For all these reasons, Apple respectfully submits that the parties and the Court may benefit

from an early case management conference to discuss the scope of this case and how it can be

litigated most efficiently. Accordingly, Apple respectfully requests that the Court schedule a case

management conference at its earliest convenience.



  DATED: January 19, 2022                             Respectfully submitted,

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                                       CERTIFICATE OF SERVICE

          I certify that on January 19, 2022, I electronically filed the foregoing with the Clerk of

the Court using the CM/ECF system which will send notification of such filing to all counsel of

record.

                                                                /s/ Melissa R. Smith



                                    CERTIFICATE OF CONFERENCE

          I hereby certify that Counsel for Plaintiff Melissa R. Smith and Counsel for Defendant,

Sam Baxter have complied with the meet and confer requirement in Local Rule CV-7(h) on

January 19, 2022. Counsel for Defendant indicated Defendant is opposed to the relief sought

herein.


                                                                /s/ Melissa R. Smith

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